






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00026-CR






In re Mary Belton




Jebediah Clint Turner, Appellant



v.



The State of Texas, Appellee






FROM THE CRIMINAL DISTRICT COURT OF DALLAS COUNTY


NO. F-0201447-LH, HONORABLE JANICE L. WARDER, JUDGE PRESIDING






O R D E R   T O   S H O W   C A U S E


PER CURIAM

This is a contempt proceeding ancillary to Jebediah Clint Turner's appeal from a
judgment of conviction for capital murder.  The subject of this proceeding is Mary Belton, court
reporter for the Criminal District Court of Dallas County.

The reporter's record was originally due to be filed on January 21, 2003.  On April
10, 2003, after the reporter failed to respond to the Court's overdue notice, the Court ordered the
preparation and filing of the record no later than May 25, 2003.  The record was not received as
ordered.  On July 25, 2003, the Court ordered Mary Belton to tender the record for filing in this
cause no later than August 19, 2003.  She failed to tender the record as ordered.

On August 21, 2003, the Court ordered Mary Belton to appear before it on September
10, 2003, to show cause why she should not be held in contempt and sanctions imposed for her
failure to obey the July 25, 2003, order of the Court.  On September 8, the Court received a letter
from Mary Belton, her first and only communication to this Court.  In the letter, she requested a
postponement of the show-cause hearing and promised that the record in this cause would be
tendered for filing on September 29, 2003.  The Court granted the postponement.  The record has
not been received.

Mary Belton is hereby ordered to appear in person before this Court on the 29th day
of October, 2003, at 8:30 o'clock a.m., in the courtroom of this Court, located in the Price Daniel,
Sr. Building, 209 West 14th Street, City of Austin, Travis County, Texas, then and there to show
cause why she should not be held in contempt and sanctions imposed for her failure to obey the July
25, 2003, order of this Court.

It is ordered October 16, 2003.


Before Chief Justice Law, Justices B. A. Smith and Patterson


